4/8/2021          Case 1:21-cr-00117-RCL Document       168-24
                                          Yahoo Mail - Fwd: Letter for Filed 09/30/22 Page 1 of 1
                                                                       recommendation




     Fwd: Letter for recommendation

     From: Don Nichols (dnichols3270@yahoo.com)

     To:   bonnienichols93@yahoo.com

     Date: Tuesday, April 6, 2021, 09:45 AM CDT




     Sent from my iPhone

     Begin forwarded message:


           From: scooter toal <scootertoal@gmail.com>
           Date: April 6, 2021 at 7:40:06 AM CDT
           To: dnichols3270@yahoo.com
           Subject: Letter for recommendation



           I wanna just say that Ryan Nichols has been a life time friend to me his whole family is is considered
           family to me. He's a little younger than me but we went to school together for a bit. His mom Mrs pattie
           thought me in driver's Ed his dad Bro Don was my preacher for a long time and married me and my wife 2
           times. Ryan has never been a troubled kid never caused any trouble to any one or any thing to my notion.
           Always been a good kid and a heck of a husband and father to his family. He is a successful business
           man. And he's a great godly person, he's has donated numerous hours and days of his time on the road
           helping others in hurricane relief all over the southern states. All out of his own pockets. Couldn't ask for a
           better person. I just wanted tell you my views on Ryan
           He's a good person please have mercy on him. God bless 🙌




                                                                                                                             1/1
